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UNlTED STATES DlSTRICT COURT F".ED E.'Y
WESTERN DlSTRICT OF TENNESSEE `“` D'C'
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UNlTED STATES OF AMER|CA ROB T q D m
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W ,“ `..,. oisT, _
'V' 2:O3CR20400-01-B D' ch mt i"v‘iEMl-"gl`!$-

LOGAN YOUNG

Robert Hutton, Retained
Defense Attorney

1700 One Commerce Square
Memphis, TN 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Commltted On or After November 1, 1987)

The defendant was found guilty on Count 1,2 & 3 of the indictment on February 03, 2005.

Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & Section MM Offense Numberlsl
Concluded
18 U.S.C. § 371 Conspiracy to Travs| and Use Facilities 10/06/2000 1
in interstate Commerce in aid of
Racketeering and Structuring a
Financial Transaction to Evade
Reporting
18 U.S.C. § 1952 and Aiding and Abetting ln interstate 01/22/2000 2
18 U.S.C. § 2 Commerce Causing Travel to Promote

and Facilitate an Un|awful Activity,
Bribery of a Pub|ic Servant

31 U.S.C. § 5324(a)(3) Structuring and Assisting in Structuring 10/06/2000 3
a Transaction to Evade Reporting
Requirements

31 U.S.C. 5317(c) Crimfnai' Forfeiture 10/06/2000
The defendant is sentenced as provided in the following pages of this judgment. The

sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for

this district within 30 days of any change of name, residence, or mailing address until all
flnes, restitution, costs and special assessments imposed by this judgment are fully pai .

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Case No: 2:03CR20400-01~ B Defendant Name: Logan YOUNG Page 2 of 5
Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of lmposition of Sentence:
Defendant’s Date of Birth: 11/10/1940 June 13, 2005

Deft’s U.S. Marsha| No.: 19255-076

Defendant’s Mailing Address:
226 Goodwyn Street, East
Memphis, TN 38111

 

J. DANIEL EEN
U |TED STATES D|STR|C JUDGE

June , 2005

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Case No: 2:03€R20400-01- B Defendant Name: Logan YOUNG Page 3 of 5
|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 6 Months.

The defendant shall surrender for service of sentence at the institution designated
by the Bureau of Prisons as notified by the United States Marshal.

Service of sentence is Stayed pending Appea|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UNlTED STATES lV|ARSHAL
By:

 

Deputy U.S. Marshal

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Case No: 2:03CR20400-O1- B Defendant Name: Logan YOUNG Page 4 of 5

SUPERV|SED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for
a term of 2 years.

The. defendant shall report to the probation office in the district to which the
defendant ls released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federal, state

or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD CONDiTiONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician. and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit coancation of any contraband observed in plain view by the probation ofhcer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No: 2:03CR20400-01- B Defendant Name: Logan ¥OUNG Page 5 of 5

10. The defendant shaft not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation ofhcer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirementl

12. lf this judgment imposes a fine or a restitution obligationl it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Monetary Penalties sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate in the Home Detention program for a period of 6 Months.
During this time, defendant will remain at defendant's place of residence except for
employment and other activities approved in advance by the defendant's Probation Officer.
Defendant will be subject to the standard conditions of Home Detention adopted for use in
the Westem District of Tennessee, which may include the requirement to wear an electronic
monitoring device and to follow electronic monitoring procedures specified by the Probation
Oflicer.

CR|M|NAL MONETARY PENALTIES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

 

 

Total Assessment Total Fine Tota| Restitution
$300.00
The Specia| Assessment shall be due immediately
F|NE

No fine imposed.

REST|TUT|ON
No Restitution was ordered .

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 197 in
case 2:03-CR-20400 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

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Case 2:03-cr-20400-.]DB Document 197 Filed 06/20/05 Page 7 of 7 PagelD 223

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Honorable .1. Breen
US DISTRICT COURT

